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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DR. RICHARD E. MATLAND,                            )
                                                   )
                               Plaintiff,          )                     12-cv-5165
                                                   )
               v.                                  )           JURY TRIAL DEMANDED
                                                   )
LOYOLA UNIVERSITY CHICAGO,                         )
                                                   )
                               Defendant.          )


                                            COMPLAINT

       Now comes Plaintiff, DR. RICHARD E. MATLAND (hereinafter, “Matland” or

“Plaintiff”), by and through his attorney, Richard J. Gonzalez, of The Law Offices of Chicago-

Kent College of Law, and for his Complaint against Defendant, Loyola University Chicago,

(hereinafter, “Loyola” or “Defendant”), states as follows:



                           Nature Of Action, Jurisdiction And Venue

       1.      This is an action for damages and equitable relief to redress the deprivation of

rights secured to Plaintiff by virtue of the Americans with Disabilities Act, 42 U.S.C. § 12101 et

seq. (“ADA”) and state law claims of promissory estoppel and fraudulent misrepresentation.

       2.      Jurisdiction of this Court is invoked pursuant to the provisions of the ADA, and

28 U.S.C. § 1343

       3.      Venue is proper by virtue of 28 U.S.C. 1391 (b), in that Defendant employed

Plaintiff in the Northern District of Illinois and all or a substantial part of the events or omissions

giving rise to the claims occurred within the Northern District of Illinois.

       4.      Plaintiff met all administrative prerequisites to the maintenance of this suit in that

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he timely filed a charge of unlawful disability discrimination with the Equal Employment

Opportunity Commission on November 16, 2011. Plaintiff has obtained a Right-To-Sue Letter

from the Equal Employment Opportunity Commission with respect to his ADA claim and brings

this action within ninety days thereafter.



                                                Parties

       5.      Plaintiff has been an employee of Defendant from 2006 through the present.

       6.      Defendant is a not-for-profit corporation incorporated engaged in the business of

providing college-level education, with its principal place of business located in Chicago,

Illinois. Defendant is an employer and a proper party defendant within the definitions of the

ADA, rendering it subject to suit thereunder.



                                                Facts

       7.      From, 2004-2006, Plaintiff, a PhD in Political Science and a nationally renowned

scholar within that field, was employed as a tenured Professor at the University of Houston in

Houston, Texas and had been so for a period of sixteen years.

       8.      In January, 2006, after having been actively recruited by Defendant, Plaintiff

accepted Defendant’s offer of the position of Professor with Defendant and offer to assume

Defendant’s prestigious “Rigali Chair.”

       9.      At the time of said offer, Plaintiff was gainfully employed at a university that

enjoyed high national rankings in the field of Political Science. Plaintiff voluntarily resigned

said position in order to accept Defendant’s offer exclusively because of Defendant’s offer of the

“Rigali Chair.”



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       10.     Also at the time of said offer, Defendant, through its agent, orally assured Plaintiff

that the “Rigali Chair” appointment was intended to be permanent in nature and that he would,

after five years, undergo a simple “retention review” rather than a review of the nature typically

undertaken in matters of promotion and tenure decisions.

       11.     Plaintiff at all relevant times satisfied and exceeded Defendant’s legitimate

performance expectations, as evidenced by, among other factors, Plaintiff’s above average

annual evaluations each year prior to his retention evaluation.

       12.     Plaintiff began experiencing health-related issues in 2007 and was diagnosed in

May, 2007 with “interstitial lung disease.” Plaintiff began extensive medical treatments directed

at the condition which continued throughout subsequent years.

       13.     In May, 2008, Plaintiff underwent the requisite testing for a potential lung

transplant. In addition, Plaintiff was diagnosed with depression and began medical treatment

directed toward that medical condition as well. Plaintiff’s initial treatment included dosages of

60-80 milligrams of prednisone per day.

       14.     In May, 2010, Plaintiff was advised by agents of Defendant that his review would

occur in the fall of 2010. Plaintiff compiled and submitted the required and customary materials

and submitted same in June, 2010.

       15.     The review process undertaken in 2010 was not, as Plaintiff had been assured at

the time of acceptance of Defendant’s offer of employment, a “retention review” but rather was

the type of review normally applicable to matters of promotion and tenure. Four nationally

recognized scholars at top universities (Northwestern, Ohio State, Penn State, and Rutgers) evaluated

the same record and each wrote strong letters in enthusiastic support of reappointment. Despite

having fulfilled all of the job requirements and having excelled in many areas included within

the job description, the University’s agents chose to ignore the record and in February 2011,
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Defendant’s Provost advised Plaintiff that he would not be retained with respect to Defendant’s

“Rigali Chair.”

       16.     In the course of deciding to deny Plaintiff retention to the “Rigali Chair”,

Defendant’s agent Dean Fennell issued a writing analogizing the demotion of Plaintiff to a

hypothetical baseball team’s decision to refuse to enter into a new contract with a baseball player

who had sustained a “career-ending injury.”

       17.     Plaintiff successfully appealed the adverse decision utilizing Defendant’s normal

and customary procedures for such an appeal. After an initial rejection of Plaintiff’s appeal, the

relevant University Committee voted unanimously to uphold Plaintiff’s appeal in September,

2011 and recommended that the process be totally redone due to a number of factors including

the failure to adequately take into account the effect of Plaintiff’s health and medical condition

during the period under review.

       18.     Despite the decision of the relevant Committee to uphold Plaintiff’s appeal, on

October 3, 2011, Defendant’s President, Michael J. Garanzini, rejected and overturned said

decision and advised Plaintiff that he was no longer to be retained in the position of “Rigali

Chair.” In the writing announcing said decision, Garanzini made numerous references to

Plaintiff’s medical conditions and treatment and expressed the view that Defendant did not need

to provide any accommodations for Plaintiff’s disabilities.

      19.      Plaintiff at all relevant times successfully performed the essential functions of his

position.




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                                                 COUNT I:

                       Violation of ADA: Failure To Reasonably Accommodate



       20. Plaintiff repeats and re-alleges paragraphs 1-19 and incorporates same by reference as

though fully set out herein.

       21.     Plaintiff’s medical conditions of interstitial lung disease and depression constitute

disabilities within the definition of the ADA.

       22. The ADA requires covered entities to provide “reasonable accommodation to the

known physical or mental limitations of an otherwise qualified individual with a disability . . .

unless such covered entity can demonstrate that the accommodation would impose undue

hardship.” 42 U.S.C. § 1211(b)(5)(A).

       23.      Plaintiff performed the essential functions of his employment position between

January, 2006 and the present without reasonable accommodation.

       24.     To the extent that Defendant’s agents believed that Plaintiff suffered from a

“career-ending injury” or other disability that would have necessitated an accommodation within

the meaning of the ADA, it had a duty to engage in an interactive process with Plaintiff in order

to arrive at a reasonable accommodation that Defendant believed would meet its objectives.

       25.     Defendant’s actions interfered with Plaintiff’s rights under the Americans with

Disabilities Act 42 U.S.C. § 12101 et seq., including, but not limited to, failing to provide

reasonable accommodations for Plaintiff’s disability.

       26.     In violating 42 U.S.C. § 12101 et seq., Defendant acted with malice and/or

reckless indifference to the federally protected rights of Plaintiff under the ADA.

       27.     Plaintiff has suffered severe damages as a direct and proximate result of



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Defendant’s unlawful conduct as described herein, including, but not limited to loss of a

prestigious position, emotional distress, psychological pain and suffering, and other damages.

       WHEREFORE, Plaintiff requests that this Court:

       A.           Enter judgment finding that Defendant unlawfully failed to accommodate

                    Plaintiff’s disability;

       B.           Reinstate Plaintiff to his previous position as holding Defendant’s “Rigali

                    Chair” within its Department of Political Science;

       C.           Award Plaintiff compensatory and punitive damages at the maximum

                    allowable under the ADA;

       D.           Award Plaintiff reasonable attorney fees and costs; and

       E.           Such other relief as this Court deems just and proper.



                                                 COUNT II

             Unlawful Demotion Based On Disability And/Or History Of Or Perception Of

                                 Disability In Violation Of The ADA



       28.      Plaintiff repeats and re-alleges paragraphs 1-27, and incorporates the same by

reference herein.

       29.      Plaintiff was, at all times relevant hereto, a qualified individual with a disability

within the meaning of the ADA.

        30. The Defendant was on notice of the Plaintiff’s disability and was aware that Plaintiff

              had a history of disability and further regarded Plaintiff as having a disability within

              the meaning of the ADA.



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       31.     The ADA provides that it is unlawful to take adverse action against a qualified

individual with a disability because of his disability and/or history of disability, or because of an

employer’s perception that an employee suffers from a disability.

       32.     In demoting Plaintiff because of his disability, his history of disability, and

because it regarded Plaintiff as suffering from a history of disability, Defendant treated Plaintiff

differently and less favorably than it treated similarly-situated persons not disabled within the

meaning of the ADA.

       32.     At all relevant times, Defendant was under a duty to conduct and implement its

personnel decisions in a non-discriminatory manner without regard to disability, history of a

disability, or Defendant’s perception that Plaintiff suffered from a disability.

       33.     Defendant’s decision to demote Plaintiff constitutes unlawful disability

discrimination in violation of 42 U.S.C. § 12101 et seq.

       34.     In violating 42 U.S.C. § 12101 et seq., Defendant acted with malice and/or

reckless indifference to the federally protected rights of Plaintiff under the ADA.

       35.     Defendant’s conduct, in violation of the ADA, was the direct and proximate cause

of Plaintiff incurring severe damages including, but not limited to loss of a prestigious position,

emotional distress, psychological pain and suffering, and other damages.

       36.     There is a causal connection between the protected activity and the adverse

actions in that Plaintiff had never received an unsatisfactory performance appraisal nor at any

time been accused of improper conduct. and the adverse action took place in close proximity to

the protected activity.

       37.     In violating 42 U.S.C. § 12101 et seq., Defendant acted with malice and/or

reckless indifference to the federally protected rights of Plaintiff.



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           WHEREFORE, Plaintiff prays for relief in the form of an Order:

           A.      Awarding him an amount equal to his lost wages, incidental expenses, and

           value of his lost benefits;

           B.      Reinstating Plaintiff to his former position, or, in the alternative,

           awarding him future pecuniary losses caused by his termination;

           C.      Awarding him compensatory and punitive damages at the maximum limit

           allowable by the ADA;

           D.      Awarding him attorney’s fees and all costs and expenses associated with

           this litigation; and

           E.      Such other relief as this Court deems just and appropriate.



                                                          COUNT III

                                                   Promissory Estoppel



           38.     Plaintiff repeats and re-alleges paragraphs 1 – 37 and incorporates same by

reference as though fully set out herein.

           39.     Defendant’s promises that the position offered to Plaintiff was to be permanent in

nature and would entail merely a “retention review” process constituted an offer within the

meaning of contract law.

           40.     Plaintiff accepted the offer, thereby creating a binding contract between the

parties.

           41.     In consideration for Defendant’s offer, Plaintiff resigned his then-current full-time

gainful employment.



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       42.   In accepting the offered position and in resigning his then-current position in order

to accept the promised position, Plaintiff detrimentally relied upon Defendant’s promises and

Defendant is estopped by promissory estoppel from refusing to honor its promises to Plaintiff.

       43.   By refusing to honor its promises, Defendant breached its contract with Plaintiff,

causing Plaintiff damages, including loss of a prestigious position.

       WHEREFORE, Plaintiff prays for an Order:

       A.      Awarding Plaintiff reinstatement to the position of “Rigali Chair” within

       Defendant’s Department of Political Science; and

       B.      Such other relief as this Court deems just and appropriate.



                                                      COUNT IV

                                            Fraudulent Misrepresentation



       44.   Plaintiff repeats and re-alleges paragraphs 1 – 43 and incorporates same by

reference as though fully set out herein.

       45.   In offering Plaintiff the position of holder of the “Rigali Chair” and in making the

additional promises set out above, Defendant, through its agents, made statements of a material

nature which statements were untrue.

       46.   In making said statements, Defendants through , its agents, knew said statements to

be untrue and/or made statements in culpable ignorance of their truth or falsity.

       47.   Defendant’s statements were made for the purpose of inducing reliance upon the

statements by Plaintiff.




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       48.   Said statements were, in fact, relied upon by Plaintiff to his detriment, in that

Plaintiff resigned gainful employment and accepted a position with Defendant under its

fraudulent pretenses.

       49.   Plaintiff was injured by his reliance upon Defendant’s statements in that he suffered

loss of salary, the value of promised benefits, and incidental and out-of-pocket expenses.

       50.   The foregoing conduct constitutes the tort of fraudulent misrepresentation.

       51.   In committing said tort, Defendant acted willfully and with malice.



       WHEREFORE, Plaintiff prays for an Order:

       A.      Reinstating Plaintiff to his previous position;

       B.      Awarding Plaintiff compensatory and punitive damages in an appropriate amount;

       and

       C.      Such other relief as this Court deems just and appropriate.



       PLAINTIFF DEMANDS TRIAL BY JURY.



                                              Respectfully submitted,


                                              By: _____s/Richard J. Gonzalez______
                                                     Attorney for Plaintiff


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